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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF KENTUCKY
                          LOUISVILLE DIVISION

                                          :
AMY JACKSON-BOLINGER, et al.              :
                                          :
                   PLAINTIFFS             :   Civil Action No. 3:19CV-00450-JHM
v.                                        :   SENIOR JUDGE JOSEPH H. MCKINLEY, JR.
                                          :
AMERICORE HEALTH, LLC, et al.             :
                                          :
                   DEFENDANTS             :
                                          :


                                      ORDER

      A review of the record in this action indicates that the conduct giving rise to
the instant action allegedly occurred in Bell County, Kentucky, which is located in
the Eastern District of Kentucky.
      IT IS THEREFORE ORDERED that this action is TRANSFERRED to the
Eastern District of Kentucky for re-allotment to a judge assigned to that division.
See LR 3.2(a). All future filings related to this action must be filed under the
Eastern District of Kentucky case number.
      The Clerk of Court is DIRECTED to ADMINISTRATIVELY CLOSE this
action.




Copies to:   Counsel of record
                                                                      June 21, 2019
